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EXHIBIT N

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL : MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE : CIVIL ACTION:
PRICE LITIGATION : 01-CV-12257-PBS

THIS DOCUMENT RELATES TO

U.S. ex rel. Ven-a-Care of : Judge Patti B.
the Florida Keys, Inc. v. : Saris
Abbott Laboratories, Inc., : Chief Magistrate

No. 06-CV-11337-PBS : Judge Marianne B.

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State of California ex rel.

Ven-a-Care of the Florida Keys,

Inc. v. Abbott Laboratories, Inc.,:

No. 03-CV-11226

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Miami, Florida

Wednesday, May 9, 2007

Videotaped deposition of T. MARK JONES,

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in that fashion.

Q. Are handwritten notes -- first of all,

does Ven-a-Care have any handwritten notes that are
kept?

A. We do.

Q. Are those also Bates stamped and control

numbered?

A. They are.

THE VIDEOGRAPHER: Excuse me. Could we

take a 30-second break, please.

MR. COOK: Absolutely. Is this a good

time for a bathroom break?

THE WITNESS: That would be great.

THE VIDEOGRAPHER: 10:05 a.m., going off
the record, end of Videotape No. 1.
(Thereupon, a recess was taken, after
which the following proceedings were held:)
THE VIDEOGRAPHER: 10:18 a.m. Videotape

No. 2. We are back on the record.

BY MR. COOK:

Q. Mr. Jones, we started describing earlier

sort of the business of Ven-a-Care in 1987 and the

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documents that generated in the business that you
had.

Am I correct in assuming that the business

of Ven-a-Care remained largely the same from 1987
through 1992, or did it change at all?

A. It remained largely the same, but it began
changing in '91, '92.

Q. In what way did it begin changing?

A. Well, we got into the lawsuit with three

of our physician referral sources. They -- they

went -- they brought a proposal to us from an NMC
home care ventures company that wanted to do what we
were doing, only they wanted to be able to do it
also in the physicians' offices.

Q. Okay.

A. That is what the -- what spurned the

lawsuit was we had -- three of the physicians were

also shareholders of Ven-a-Care, and we had them in
a noncompete, and they sued us based on the
noncompete, saying that it was not a legal -- ora
legal thing in Florida.

Q. And so beginning in 1992, some of the

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1 efforts of Ven-a-Care were diverted to a lawsuit,
2 take it?

3 A. A significant amount.

4 Q. Once the lawsuit was initiated in 1992 -5

MR. BREEN: Objection to form.

6 MR. COOK: You are right, I probably have

7 that wrong.

8 MR. BREEN: I tell you it was '91.

9 BY MR. COOK:

10 Q. Once the lawsuit was initiated, how much

11 of your business continued on providing infusion
12 services as it was before?

13 A. I want to say that it decreased

14 significantly quickly. Statistically, it is hard
15 for me to tell you. Because they opened up their
16 own competing pharmacy, they were able to refer

17 their patients to themselves. So a lot of our

18 patients were lost to them.

19 Now, we had some patients, and we

20 continued to take care of them. But, no, it was

21 dramatically different. I mean, that was part of

22 our countersuit, you know.

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Q. And so if we measure the volume of

Ven-a-Care's business by patients -

A. Uh-huh.
Q. -- it dropped substantially with -- about
the time that this lawsuit was initiated with these

three physicians?

A. Yeah.

Q. Did it ever pick back up again?

A. No.
Q. And so the records from 1991 or '92 to the
present of patient records, those would represent
the services that Ven-a-Care was providing to that
reduced patient flow; correct?
A. In general. In general. Well, because
sometimes we had long-term patients. I mean, there
may have been someone that we did for five years,
you know.
Q. There may have been someone who was with
you before -20
Right.
Q. -- and stayed with you after the lawsuit

and the diminution in your patient flow?

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Fresenius; correct?

A. Correct.

Q. As I understand it, Ven-a-Care also

continued investigatory activity relating to drug
pricing issues as well throughout the '90s; is that
correct?

A. That's correct.

Q. My question is, what types of

investigatory activities did Ven-a-Care undertake

throughout the '90s and into -- after 2000 until
today relating to drug pricing?

A. Well, I think, to the best of my

recollection, the easiest way for me to describe it,
in the beginning we started to understand -- I mean,
the lawsuit with ImmuneCare, the biggest allegation

that I recall, the one that really stuck in my craw

was the physicians referring to themselves and
splitting the -- splitting the profits with the
pharmacy of NMC home care and NMC ventures, whoever
the -- I can't remember who their actual venture
partner was, you know.

Q. Uh-huh.

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we knew and had worked with. And, actually, my wife
and I had socialized with him, and he was a gay
doctor, and his partner, John Denitkus, owned
probably the most successful medical practice in
town at the time, and they were doing most of the
HIV care. So we had social ties.

And so we were pretty dumbfounded when he

came there and gave us the proposal from NMC for

ImmuneCare that contemplated, you know, us taking

and giving them all of our patients and coming to
work for them.

And there were, you know, issues in there

about the rent, getting paid more rent than what the
market -- what the market allowed, and then

offered -- and I can't remember the pro formas
exactly. We have those, and if they are

discoverable, you will certainly see them. Offered
to make us millionaires in five years. You know,
they wanted to take this and turn it into a
prototype outpatient HIV treatment center and turn
it into what they had done with the SRD facilities.

And Mr. Ham -- Dr. Hamper is who Larry -

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Larry Siegel was an old colleague of his, is the one
who approached Larry or Larry approached him and
came up with the concept.

What I'm trying to say is Dr. Hamper and

Larry were pioneers in developing outpatient end
stage renal disease treatment facilities, so they
had a history of doing that.

The glitch with us was we would have to

give up our autonomy, our business. They were -

the way that they produced the pro formas, they were
taking a patient population that we had been
servicing for the last few years and tripling or
quadrupling the services.

And we were like, you know, where is that

coming from? The patient population isn't changing.
If anything, it is declining because HIV patients in
general were dying. They didn't have the protease
inhibitors and the oral therapies that are on the
market now that make their lives more of a chronic
illness and, you know, increase the quality of it.
That was one of the statements that

Dr. Siegel made to us, was, well, we have ways

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of billing -- NMC has ways of billing that you've
never heard of. Immediately that piqued our
attention, you know.

Q. And so as I understand it, in terms of the
investigations that you undertook, part of it was

research to determine both, I guess, the legal -

legal basis and educate yourself about the legal

basis; correct?

A. Well, we hired Mr. Breen. He represented

us, and we started learning, you know, as much as we
could.

Q. And you undertook factual investigations,

as I understand it, both in that case and in later
drug pricing investigations; correct?

A. We did.

Q. Could you tell me, what activities did you

undertake as part of your factual investigations in

the drug pricing cases?

MR. BREEN: Objection to form. I would

also caution the witness that -- and I'm not
instructing the witness not to answer, but I

will interpose an objection at the appropriate

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time if it gets into investigations that were
conducted with counsel that may fall under the
work product privilege. I'm not going to
impose any objection yet, but I will just
caution the witness if we get to that point,

let me object and then we will discuss it.

MR. COOK: Sure.

BY MR. COOK:

Q. I'm asking now just for general
descriptions of what you have done as opposed to the
results of the investigation or what you actually
learned. But if you can, at a 50,000-foot level,
describe sort of what investigations you undertook.
A. Off the top of my head, we restarted
researching the reimbursement issues. Well,
remember -- or let me give you some information.
Most of the patients that we took care of
were HIV patients, the majority, you know. I want
to tell you 90 percent. And the drugs that we were
using to treat them were single source drugs. They
were drugs that were brand new. I mean, I gave you

an example of pentamidine. Well, the other good

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example is Cytovene, which is a drug produced by

Sentex Labs, for CMV retinitis, which is another -3

which was a really, very opportunistic infection.

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Many of them were going blind from it.

So, I mean, we were even on the level when

we first started doing this, doing

experimental therapy -- DHPG was the precursor to
Cytovene. So we were able to work through our

physicians with whomever, whatever pharmaceutical

company was sponsoring it.

The point is, I'm rambling, that a lot of

what we were looking at in drugs were -- were brand
named, single source drugs, you know, didn't -- you
didn't have opportunities to buy except in

certain -- certain ways.

Q. Uh-huh.

A. So we started looking at all of the drugs.

Because one of the drugs that they used in their pro
forma was that, and one was IVIG. They were using
IVIG, which is a biological drug that is used
primarily for autoimmune disorders, say like

Guillain-Barre or -- there is a few other, I just

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1 can't recall off the top of my head what their

2 indications were.

3 But they were using doctors -- doctors can

4 off use something off label, you know. And they

5 were using IVIGs on patients to -- to boost their
6 immune system, so to speak. That is the best way I
7 can put it.

8 And that was one of the drugs that, you

9 know, we started looking at, how you can buy it and

10 how you can get reimbursed. And, you know, we

11 called different insurance companies, we talked to
12 different, you know, third party payors. We also
13 would call Medicaid -- not Medicaid, more of their
14 Consult Tech or Unisist, the ones that administered,
15 you know, the payment of claims and the

16 reimbursement part. I don't know. And Florida had
17 either Consult Tech or Unisist. I can't remember.
18 They had both. I can't remember which one at the
19 time.

20 We would call up and give them NDC

21 numbers, and they would give us the reimbursement

22 amount. And we started compiling lists and watching

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1 what ImmuneCare was doing in prescription, you know,
2 in prescribing out there.

3 Q. You described on several occasions

4 telephone conversations that you would have as part
5 of your factual investigations.

6 A. Uh-huh.

7 Q. Would you keep any record of those

8 telephone conversations?

9 A. I think we have some handwritten records

10 of telephone conversations. I'm not going to sit
11 here and tell you how many or, you know, where they
12 exist. We kept notes at times, sure.

13 Q. There would be handwritten notes of your

14 conversations?

15 A. Yes.

16 Q. Would you ever do a formal memorandum of a

17 telephone interview?

18 A. I believe if a formal memorandum was done,

19 it would have been done through our counsel. We
20 would have called, given the information, counsel
21 would have put together a memorandum for us -22

Q. Leaving aside counsel preparing something,

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